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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Devon Bank, et al.
                                        Plaintiff,
v.                                                         Case No.: 1:17−cv−09286
                                                           Honorable John Z. Lee
United States of America, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 12, 2019:


         MINUTE entry before the Honorable John Z. Lee:Plaintiff's petition to approve
the settlement of minor [96] is granted. The pretrial conference set for 2/21/20 and jury
trial set for 4/6/20 are stricken. Enter order. Civil case terminated. Mailed notice(ca, )




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